Case:24-12624-KHT Doc#:300 Filed:01/23/25

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Debtor Name DNC and TCPA List Sanitizer
United States Bankruptcy Court for the: District of

Case number: 24-1 2624 KHT

Official Form 425C

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© Check if this is an
amended filing

Monthly Operating Report for Small Business Under Chapter 11

12/17

Month:

December 2024 Date report filed: 1/23/2025
MM/DD/YYYY

Line of business: TCPA Risk Mitigation NAISC code: 518210

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Michael O'Hare

ey pe) RS
Original signature of responsible party A lcha ec Rat tar

Printed name of responsible party Michael O'Hare

aaa 1. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

eo fF NP aA fF Sw NH

Did the business operate during the entire reporting period?

Do you plan to continue to operate the business next month?

Have you paid all of your bills on time?

Did you pay your employees on time?

Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?

Have you timely filed your tax returns and paid all of your taxes?
Have you timely filed all other required government filings?
Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?

Have you timely paid all of your insurance premiums?

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

16.

. Do you have any bank accounts open other than the DIP accounts?

. Have you sold any assets other than inventory?

. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
. Did any insurance company cancel your policy?

. Did you have any unusual or significant unanticipated expenses?

Have you borrowed money from anyone or has anyone made any payments on your behalf?

Has anyone made an investment in your business?

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11

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Debtor Name DNC and TCPA List Sanitizer Case number24-12624 KHT
17. Have you paid any bills you owed before you filed bankruptcy? L) w QO
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? QO wf a)
ee 2. Summary of Cash Activity for All Accounts
19. Total opening balance of all accounts
. : $ 344354.52
This amount must equal what you reported as the cash on hand at the end of the month in the previous a
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.
20. Total cash receipts
Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.
Report the total from Exhibit C here. $__99,301.69
21. Total cash disbursements
Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements
in lieu of Exhibit D. =§ 24,1 25.56
Report the total from Exhibit D here.
22. Net cash flow
+ 3 $64,522.16
Subtract line 21 from line 20 and report the result here. ——
This amount may be different from what you may have calculated as net profit.
23. Cash on hand at the end of the month

Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

= $$408,876.6¢

ae :. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24. Total payables $
(Exhibit E)
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DebtorName DNC and TCPA List Sanitizer Case number2.4-12624 KHT

ee 4. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy, Label it Exhibit F.

Identify who owes you money, how much is owed, and when payment is due. Report the total from
Exhibit F here.

25. Total receivables $ 0
(Exhibit F)

ie -. Employees

26. What was the number of employees when the case was filed?

27. What is the number of employees as of the date of this monthly report?

BE 6. Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case? $__ Ci“
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __38023.46
30. How much have you paid this month in other professional fees? $ _ i
31. How much have you paid in total other professional fees since filing the case? $ 0
a Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month's this report. from Column A.
report.
32. Cash receipts $ 100000 — ¢ 99,301.69 Mel 6 -698.31
i e A7
33. Cash disbursements $ = 160080. = a ara e $ = 25220.47
wa ‘ ive
54. Wet casirfiow |g 40000 g 64,522.16 g  24552.16
35, Total projected cash receipts for the next month: $ ___ 100000
36. Total projected cash disbursements for the next month: = § ____ 60000
37. Total projected net cash flow for the next month: =¢ 40000

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Debtor Name DNC and TCPA List Sanitizer Case numbere4-12624 KHT

ee 8. Additional Information

If available, check the box to the left and attach copies of the following documents.

@ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
L) 39. Bank reconciliation reports for each account.

oO 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

QU) 41. Budget, projection, or forecast reports.

CL] 42. Project, job costing, or work-in-progress reports.

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EXHIBIT C
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Paypal Revenue

Date

Type
12/2/2024 Subscription Payment
12/3/2024 Subscription Payment
12/3/2024 Subscription Payment
12/5/2024 Subscription Payment
12/6/2024 Subscription Payment
12/6/2024 Subscription Payment
12/9/2024 Subscription Payment

12/10/2024 Subscription Payment
12/16/2024 Subscription Payment
12/17/2024 Website Payment
12/18/2024 Website Payment
12/20/2024 Subscription Payment
12/22/2024 Subscription Payment
12/29/2024 Subscription Payment
12/29/2024 Subscription Payment
12/29/2024 Mobile Payment
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Status

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Description

TCPA Litigator DNC List - Order 456980
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12/22/202417:12 $ 299 TCPA Litigator DNC List - Order 456289 $ 8.97
12/21/2024 20:44 $ 299 TCPA Litigator DNC List - Order 456221 $ 8.97
12/21/2024 18:02 $ 149 TCPA Litigator DNC List - Order 456217 $ 4.62
12/21/2024 17:46 $ 299 TCPA Litigator DNC List - Order 456215 $ 8.97
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12/21/2024 16:16 $ 299 TCPA Litigator DNC List - Order 456209 $ 13.46

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12/20/2024 19:18 $ 249 TCPALitigator DNC List - Order 456125 $ 7.52
12/20/2024 18:13 $ 299 TCPA Litigator DNC List - Order 456123 $ 8.97
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12/20/2024 15:11 $ 1,250 TCPA Litigator DNC List - Order 456108 $ 36.55

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12/19/2024 23:18 $ 199 TCPA Litigator DNC List - Order 456061 $ 6.07
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12/17/2024 23:03 $ 299 TCPA Litigator DNC List - Order 455739 $ 8.97
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12/15/2024 21:53 $ 75 TCPA Litigator DNC List - Order 455476 $ 2.48
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TCPA Litigator DNC List - Order 455445
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TCPA Litigator DNC List - Order 455122
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TCPA service December 2024

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TCPA Litigator DNC List - Order 454693
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TCPA Litigator DNC List - Order 453741
TCPA Litigator DNC List - Order 453737
TCPA Litigator DNC List - Order 453730
TCPA Litigator DNC List - Order 453651
TCPA Litigator DNC List - Order 453649
TCPA Litigator DNC List - Order 453648

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23.47
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8.97
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207
6.07
6.07
3.17
29.30
11.26
6.07
14.80
8.97
8.97
6.07
8.97
7.52
8.97
14.77
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6.07
72.80
8.97
9.06
8.97
4.62
6.07
2.62
8.97
6.07
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6.07
7.55
3.17
6.07
72.77
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Pageii of 27

12/2/2024 18:22 § 499 TCPALitigator DNC List - Order 453640 $ 22.26
12/2/2024 17:18 $ 2,499 TCPA Litigator DNC List - Order 453631 $ 72.77
12/2/2024 15:46 $ 750 TCPA service December 2024 $ 22.05
12/2/2024 15:23 $ 199 TCPA Litigator DNC List - Order 453595 $ 6.07
12/2/2024 14:18 $ 449 TCPA Litigator DNC List - Order 453591 $ 13.32
12/2/20249:08 $ 299 TCPA Litigator DNC List - Order 453529 $ 13.46
12/1/2024 21:47 $ 799 TCPA Litigator DNC List - Order 453541 $ 23.47
12/1/2024 16:00 $ 3,250 TCPA Litigator List Monthly Subscription Decemt $ 94.55
12/1/2024 12:06 $ 2,500 TCPA Litigator DNC List - Order 453531 $ 72.80
12/31/2024 19:57 $ 99 TCPALitigator DNC List - Order 456977 $ 3.17
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Pagei2 of 27

Integrity Bank and
Trust DIP Account
Date Type Description Amount Balance
12/30/2024 Credit Memo; Immediate Credit WIRE TRANSFER 2240 405394.6
12/9/2024 Credit Memo; Immediate Credit WIRE TRANSFER 1500 354104.1
12/2/2024 Credit Memo; Immediate Credit WIRE TRANSFER 2240 346594.5
12/31/2024 Deposit STRIPE TRANSFER 2267.14 410045.6
12/30/2024 Deposit STRIPE TRANSFER 1687.16 407942.5
12/30/2024 Deposit PAYPAL TRANSFER 860.67 406255.3
12/27/2024 Deposit STRIPE TRANSFER 1729.67 403154.6
12/27/2024 Deposit PAYPAL TRANSFER 479.63 401425
12/26/2024 Deposit STRIPE TRANSFER 6337.04 401144.3
12/24/2024 Deposit STRIPE TRANSFER 2713.22 396172.9
12/23/2024 Deposit STRIPE TRANSFER 478.26 394471.2
12/23/2024 Deposit PACEVENTURESINC CREI 145 393992.9
12/20/2024 Deposit STRIPE TRANSFER 1255.77 393848.9
12/20/2024 Deposit PAYPAL TRANSFER 432.84 392593.2
12/20/2024 Deposit M MERCHANT CR CD DEF 199 392160.3
12/19/2024 Deposit STRIPE TRANSFER 2416.29 391961.3
12/18/2024 Deposit STRIPE TRANSFER 6635.54 394545
12/18/2024 Deposit PAYPAL TRANSFER 432.84 387909.5
12/17/2024 Deposit STRIPE TRANSFER 1831.42 388815.1
12/17/2024 Deposit PAYPAL TRANSFER 288.07 386983.7
12/16/2024 Deposit STRIPE TRANSFER 6035.07 392380.1
12/16/2024 Deposit M MERCHANT CR CD DEF 299 386345
12/13/2024 Deposit STRIPE TRANSFER 4505.34 386544
12/13/2024 Deposit PAYPAL TRANSFER 262.86 382038.7
12/12/2024 Deposit STRIPE TRANSFER 2315.32 381775.8
12/11/2024 Deposit STRIPE TRANSFER 14110.56 379460.5
12/10/2024 Deposit STRIPE TRANSFER 3431.12 366410.9
12/10/2024 Deposit PAYPAL TRANSFER 191.56 362979.8
12/9/2024 Deposit STRIPE TRANSFER 4119.34 362788.2
12/9/2024 Deposit PAYPAL TRANSFER 4000 358668.9
12/9/2024 Deposit PAYPAL TRANSFER 283.63 354668.9
12/9/2024 Deposit PAYPAL TRANSFER 141 354385.3
12/9/2024 Deposit PAYPAL TRANSFER 129 354244.3
12/9/2024 Deposit PAYPAL TRANSFER 11.2 354115.3
12/6/2024 Deposit STRIPE TRANSFER 1474.24 354619.7
12/6/2024 Deposit PAYPAL TRANSFER 288.07 353145.4
12/5/2024 Deposit STRIPE TRANSFER 1110.69 352857.4
12/4/2024 Deposit STRIPE TRANSFER 16413.45 353732.2
12/4/2024 Deposit M MERCHANT CR CD DEF 498 337318.7
12/4/2024 Deposit PAYPAL TRANSFER 479.63 336820,7
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page13 of 27

12/3/2024 Deposit STRIPE TRANSFER 2802.92 346745.5
12/3/2024 Deposit PAYPAL TRANSFER 191.56 343942.6
12/2/2024 Deposit STRIPE TRANSFER 3076.35 350633.1
12/2/2024 Deposit PAYPAL TRANSFER 962.22 347556.7

12/30/2024 Miscellaneous Charge WIRE TRANSFER FEE -25 407917.5
Case:24-12624-KHT Doc#:300 Filed:01/23/25

Integrity

BANK& TRUST

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1275 Village Ridge Point
Monument, CO 80132

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DNC _AND TCPA LIST SANITIZER
CASE #24-12624-KHT

DEBTOR_IN POSSESSION

405 CHERRY HILLS WAY

COLORADO SPRINGS CO 80921-2667

Entered:01/23/25 11:56:57 Page14 of 27

Managing Your Accounts

PHONE:
ADDRESS:

TOLL FREE:

TELEBANK:
ONLINE:

(719) 487-3034

13475 VOYAGER PKWY
COLORADO SPRINGS CO 80921
877-677-2265

877-317-2265

www.IntegrityBankAndTrust.com

Statement Date: 12/31/2024 Enclosures: (2) Account No.: Page: 1
2 XXXXXXXXXE27
g This Statement Cycle Reflects 32 Days
ACCOUNTS AT A GLANCE
Account No. Sub Acct. Account Title Acct Type Balance
XXKXKXKXKXXX627 INTEGRITY BUSINESS Deposit 408,876.68

| Your Total Deposits = 408,876.68 And Your Total Loans = 0.00

INTEGRITY BUSINESS SUMMARY

Type: REG Status: Active

Category Number Amount
Balance Forward From 11/29/24 344,354.52
Debits 2 10,653.97°
Automatic Withdrawals 32 28,100.56
Automatic Deposits 44 103,301.69+
Miscellaneous Fees 4 . 25.00

eS Ending Balance On 12/31/24 408,876.68

sg

= Average Balance (Ledger) 378,940.34+
STATEMENT PERIOD ACTIVITY
Date Check/Description Amount Balance
12/02/24 WIRE TRANSFER FROM ALP TRAFFIC S DE RLDE CV 2,240.00 346,594.52
12/02/24 PAYPAL TRANSFER 962.22 347,556.74
12/02/24 STRIPE TRANSFER 3,076.35 350,633.09
12/02/24 STARLINK INTERNE STARLINK | 120.00- 350,513.09
12/02/24 M MERCHANT MERCH FEES 1,259.43- 349,253.66
12/02/24 PAYPAL INST XFER 1,502.61- 347,751.05
12/02/24 PAYPAL INST XFER 4,000.00- 343,751.05
12/03/24 PAYPAL TRANSFER 191.56 343,942.61
12/03/24 STRIPE TRANSFER 2,802.92 346,745.53
12/03/24 PACEVENTURESINC WEBPAYMENT 400.00- 346,345.53
12/03/24 PAYPAL INST XFER 1,874.25- 344,471.28
12/03/24 WEST PUBLISHING EDI/EFTPMT ISA 00 00 01 006930416ISO 22 2,030.20- 342,441.08

ISOWESTPB 241202 080
12/03/24 TADHG S WEB STUFF IAT PAYPAL WEB000000000000210000 2,100.00- 340,341.08
DNC AND TCPA LIST SANITZER
12/03/24 WISE US INC WISE 4,000.00- 336,341.08
12/04/24 PAYPAL TRANSFER 479.63 336,820.71
..to have an enduring impact on the community Continued 2 wes
CSI REV 060120 www.integritybankandtrust.com Toll Free 877.677.2265 wee FDIC ooeze-sturt

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Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page1i5 of 27

Statement Date: 12/31/2024 Enclosures: (2)

STATEMENT PERIOD ACTIVITY (continued)

Date Check/Description

12/04/24 M MERCHANT CR CD DEP TCPA LITIGATOR LIST
12/04/24 STRIPE TRANSFER

12/04/24 M MERCHANT DLY DIS S

12/04/24 WISE INC WISE

42/04/24 UPWORK ESCROW IN EDI PYMNTS
12/04/24 UPWORK ESCROW IN EDI PYMNTS
12/04/24 UPWORK ESCROW IN EDI PYMNTS
12/04/24 WISE US INC WISE

12/05/24 STRIPE TRANSFER

12/06/24 PAYPAL TRANSFER

12/06/24 STRIPE TRANSFER

12/06/24 PAYPAL INST XFER

12/06/24 GATEWAY SERVICES WEBPAYMENT
12/06/24 PAYPAL INST XFER

12/06/24 PAYPAL INST XFER

42/06/24 WISE US INC WISE

42/09/24 WIRE TRANSFER QS
12/09/24 PAYPAL TRANSFER

12/09/24 PAYPAL TRANSFER

42/09/24 PAYPAL TRANSFER

12/09/24 PAYPAL TRANSFER

12/09/24 PAYPAL TRANSFER

12/09/24 STRIPE TRANSFER

12/10/24 PAYPAL TRANSFER

12/10/24 STRIPE TRANSFER

12/10/24 UPWORK ESCROW IN EDI PYMNTS
42/11/24 STRIPE TRANSFER

12/12/24 STRIPE TRANSFER

12/13/24 PAYPAL TRANSFER

12/13/24 STRIPE TRANSFER

12/13/24 M MERCHANT CR CD CHBK TCPA LITIGATOR LIST
12/16/24 M MERCHANT CR CD DEP TCPA LITIGATOR LIST
12/16/24 STRIPE TRANSFER

12/16/24 M MERCHANT DLY DIS S

12/16/24 PAYPAL INST XFER

12/16/24 CHK#183

12/17/24 PAYPAL TRANSFER

12/17/24 STRIPE TRANSFER

12/17/24 UPWORK ESCROW IN EDI PYMNTS
12/18/24 PAYPAL TRANSFER

12/18/24 STRIPE TRANSFER

12/18/24 CHK#182

12/19/24 STRIPE TRANSFER

12/20/24 M MERCHANT CR CD DEP TCPA LITIGATOR LIST
12/20/24 PAYPAL TRANSFER

12/20/24 STRIPE TRANSFER

12/20/24 M MERCHANT DLY DIS S

12/23/24 PACEVENTURESINC CREDIT
12/23/24 STRIPE TRANSFER

12/23/24 PAYPAL INST XFER

12/23/24 WISE INC WISE

12/24/24 STRIPE TRANSFER

12/24/24 UPWORK ESCROW IN EDI PYMNTS
12/26/24 STRIPE TRANSFER

12/26/24 PAXTON.AI PAXTON.AI

12/27/24 PAYPAL TRANSFER

12/27/24 STRIPE TRANSFER

12/30/24 WIRE TRANSFER FROM ALP TRAFFIC S DE RLDE CV
12/30/24 PAYPAL TRANSFER

12/30/24 STRIPE TRANSFER

12/30/24 WIRE TRANSFER FEE FROM
12/30/24 SLACK TO3UM1UF3P SLACK TO3U
42/31/24 STRIPE TRANSFER

Account No.:
XOOOOXXOXKKKM E27

Amount
498.00
16,413.45
2.50-
50.00-
206.00-
463.50-
463.50-
800.00-
1,110.69
288.07
1,474.24
11.20-
30.16-
129.00-
141.00-
1,704.25-
1,500.00
11.20
129.00
141.00
283.63
4,000.00
4,119.34
191.56
3,431.12
1,060.95-
14,110.56
2,015.32
262.86
4,505.34
498.00-
299.00
6,035.07
1.50-
29.00-
5,653.97-
288.07
1,831.42
1,338.48-
432.84
6,635.54
5,000.00-
2,416.29
199.00
432.84
1,255.77
1.00-
145.00
478.26
410.00-
601.50-
2:0 13:22
1,365.60-
6,337.04
199.00-
479.63
1,729.67
2,240.00
860.67
1,687.16
25.00-
139.00-
2,267.14

Continued

Page: 3

Balance
337,318.71
353,732.16
353,729.66
353,679.66
353,473.66
353,010.16
352,546.66
351,746.66
352,857.35
353,145.42
354,619.66
354,608.46
354,578.30
354,449.30
354,308.30
352,604.05
354,104.05
354,115.25
354,244.25
354,385.25
354,668.88
358,668.88
362,788.22
362,979.78
366,410.90
365,349.95
379,460.51
381,775.83
382,038.69
386,544.03
386,046.03
386,345.03
392,380.10
392,378.60
392,349.60
386,695.63
386,983.70
388,815.12
387,476.64
387,909.48
394,545.02
389,545.02
391,961.31
392,160.31
392,593.15
393,848.92
393,847.92
393,992.92
394,471.18
394,061.18
393,459.68
396,172.90
394,807.30
401,144.34
400,945.34
401,424.97
403,154.64
405,394.64
406,255.31
407,942.47
407,917.47
407,778.47
410,045.61
Case:24-12624-KHT Doc#:300 Filed:01/23/25

Entered:01/23/25 11:56:57 Page16 of 27

Statement Date: 12/31/2024 Enclosures: (2) Account No.: Page: 4
XXXXXXXXX627
STATEMENT PERIOD ACTIVITY (continued)
Date Check/Description Amount Balance
12/31/24 UPWORK ESCROW IN EDI PYMNTS 1,168.93- 408,876.68
CHECKS AND OTHER DEBITS * indicates a gap in the check numbers
Date Check # Amount Date Check # Amount Date Check # Amount
12/18/24 182 5,000.00 12/16/24 183 5,653.97
DAILY BALANCE SUMMARY
Beginning Ledger Balance on 11/29/24 was 344,354.52
Date Balance Date Balance Date Balance
12/02/24 343,751.05 = 12/11/24 379,460.51 12/20/24 393,847.92
12/03/24 336,341.08 12/12/24 381,775.83 12/23/24 393,459.68
12/04/24 351,746.66 12/13/24 386,046.03 12/24/24 394,807.30
12/05/24 352,857.35 12/16/24 386,695.63 12/26/24 400,945.34
12/06/24 352,604.05 12/17/24 387,476.64 12/27/24 403,154.64
12/09/24 362,788.22 12/18/24 389,545.02 12/30/24 407,778.47
12/10/24 365,349.95 12/19/24 391,961.31 12/31/24 408,876.68

Direct Inquiries About Electronic Entries To:
Phone: (719) 484-0077

Continued

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Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page17 of 27

EXHIBIT D
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page18 of 27

Paypal Payments

Date

Type
12/2/2024 General Payment
12/2/2024 General Payment
12/3/2024 Order
12/3/2024 General Authorization
12/3/2024 General Authorization
12/5/2024 Express Checkout Payment
12/5/2024 Express Checkout Payment
12/5/2024 Express Checkout Payment
12/5/2024 General Authorization
12/6/2024 Payment Refund
12/6/2024 Payment Refund
12/7/2024 Payment Refund
12/7/2024 Payment Refund

Status
Completed
Completed
Processing
Pending
Pending
Completed
Completed
Completed
Completed
Completed
Completed
Completed
Completed

12/14/2024 PreApproved Payment Bill User | Completed
12/22/2024 PreApproved Payment Bill User | Completed

Currency Gross

USD
EUR
USD
USD
USD
USD
USD
USD
USD
USD
USD
USD
USD
USD
USD

-1,874.25
-1,902.09
281.2
-281.2
-281.2
“11.2
-141

-129
-281.2
129

141
4,000.00
112

-29

-410

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Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page19 of 27

Integrity Bank and
Trust DIP Account

Date

Type
12/31/2024 On-Us Check
12/30/2024 On-Us Check
12/26/2024 On-Us Check
12/24/2024 On-Us Check
12/23/2024 On-Us Check
12/23/2024 On-Us Check
12/20/2024 On-Us Check
12/18/2024 On-Us Check
12/17/2024 On-Us Check
12/16/2024 On-Us Check
12/16/2024 On-Us Check
12/16/2024 On-Us Check
12/13/2024 On-Us Check
12/10/2024 On-Us Check
12/6/2024 On-Us Check
12/6/2024 On-Us Check
12/6/2024 On-Us Check
12/6/2024 On-Us Check
12/6/2024 On-Us Check
12/4/2024 On-Us Check
12/4/2024 On-Us Check
12/4/2024 On-Us Check
12/4/2024 On-Us Check
12/4/2024 On-Us Check
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12/3/2024 On-Us Check
12/2/2024 On-Us Check
12/2/2024 On-Us Check
12/2/2024 On-Us Check
12/2/2024 On-Us Check

Description

UPWORK ESCROW IN EDI f
SLACK TO3UM1UF3P SLAC
PAXTON.AI PAXTON.AI
UPWORK ESCROW IN EDI f
WISE INC WISE

PAYPAL INST XFER

M MERCHANT DLY DISS
CK #182

UPWORK ESCROW IN EDI F
CK #183

PAYPAL INST XFER

M MERCHANT DLY DISS

M MERCHANT CR CD CHBI
UPWORK ESCROW IN EDI f
WISE US INC WISE

PAYPAL INST XFER

PAYPAL INST XFER
GATEWAY SERVICES WEBP
PAYPAL INST XFER

WISE US INC WISE
UPWORK ESCROW IN EDI f
UPWORK ESCROW IN EDI F
UPWORK ESCROW IN EDI f
WISE INC WISE

M MERCHANT DLY DISS
WISE US INC WISE

TADHG S WEB STUFF IAT P,
WEST PUBLISHING EDI/EF1
PAYPAL INST XFER
PACEVENTURESINC WEBP
PAYPAL INST XFER

PAYPAL INST XFER

M MERCHANT MERCH FEE:
STARLINK INTERNE STARLII

Amount
-1168.93
-139
-199
-1365.6
-601.5
-410
-1
-5000
-1338.48
-5653.97
-29
-1.5
-498
-1060.95
-1704.25
-141
-129
-30.16
-11.2
-800
-463.5
-463.5
-206
-50
-2.5
-4000
-2100
-2030.2
-1874.25
-400
-4000
-1502.61
-1259.43
-120

Balance
408876.7
407778.5
400945.3
394807.3
393459.7
394061.2
393847.9

389545
387476.6
386695.6
392349.6
392378.6

386046

365350
352604.1
354308.3
354449.3
354578.3
354608.5
351746.7
352546.7
353010.2
353473.7
353679.7
353729.7
336341.1
340341.1
342441.1
344471.3
346345.5
343751.1
347751.1
349253.7
350513.1
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Account No.: XXXXXXXXX627

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BNC AND TCPA LIST SANITIZER an Chase Bank WA. 182
DEBTOA IN POSSESSION DEC 172024 (2/06/2029 sresvi070
COLORADO | Bats MAHECK amg
COLORADO SPRINGS CO 80905-7380 R a in Kes al —r.
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Statement Date: 12/31/2024

DNC AND TCPA LIST SANITIZER 183
CASE et soot en 824931070

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COLORADO SPRINGS CO 80906-7380
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Number: 182 Date: 12/18/2024 Amount: $5000.00

Number: 183 Date: 12/16/2024 Amount: $5653.97
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page21 of 27

Additional Information
Case:24-12624-KHT Doc#:300 Filed:01/23/25

DNC and TCPA Sanitizer, LLC
Profit and Loss
Basis: Cash
01 Dec 2024 To 31 Dec 2024

Account
Operating Income
Sales

Total for Operating Income

Cost of Goods Sold
Total for Cost of Goods Sold

Gross Profit

Bankruptcy Expenses
Trustee

Total Bankruptcy Expenses
Adjusted Gross Profit
Operating Expense
Accountant

Advertising And Marketing
Bank Fees

IT and Internet Expenses
Litigators Research

Sales People and Commissions

Telecommunication Expense
VOIP

Web Site Development

Total for Operating Expense

Operating Profit

Non Operating Income

Total

$99,301.69
$99,301.69

$99,301.69

$5,653.97

$5,653.97

$93,647.72

$274.54
$6,031.39
$3,148.94
$458.39
$4,583.86
$3,015.70
$396.50
$1,762.67
$4,453.58
$24,125.56

$69,522.16

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Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page23 of 27

Total for Non Operating Income 0

Non Operating Expense

Total for Non Operating Expense 0
Net Profit/Loss $69,522.16
Cash Flow From Operations $69,522.16
Less: Chase Payment $5,000.00

Free Cash Flow $64,522.16
Case:24-12624-KHT Doc#:300 Filed:01/23/25 Entered:01/23/25 11:56:57 Page24 of 27

ree Attorneys at Law

soe ear WADSWORTH 2580 W Main Street, Suite 200
Sse -- GARBER Littleton, Colorado 80120

o 6 08:

set, WARNER 303-296-1999

wets. CONRARDY

Michael O'Hare

DNC and TCPA List Sanitizer .
985 Pico Pt. Invoice Date: 11/15/2024
Colorado Springs, CO 80921 Invoice Number: 107192

46590.00 CHAPTER 11

Trust Account

Opening Balance $0.00
10/04/2024 Deposit 45,000.00

Closing Balance $45,000.00
Case:24-12624-KHT Doc#:300 Filed:01/23/25

Attorneys at Law
WADSWORTH 2580 W Main Strest, Suite 200

GAR B = R Littleton, Colorado 80120

WARNER
CONRARDY

303-296-1999

Michael O'Hare
DNC and TCPA List Sanitizer

Entered:01/23/25 11:56:57 Page25 of 27

985 Pico Pt. Invoice Date: 11/15/2024
Colorado Springs, CO 80921 Invoice Number: 107193
46590.01 GENERAL ADMINISTRATION
Fees
10/04/2024 AAG  Correspond with client, Trustee, and secured creditor regarding case 1.50 750.00
10/05/2024 AAG | Draft Application to employ, retainer Motion, Motion to shorten notice, and
Motion to appear by phone 3.00 1,500.00
10/07/2024 AAG Finalize Application to employ (.4), Motion to shorten notice (.4), and Motion
to appear by phone (.4); Draft interim procedure Application (1) 2.20 1,100.00
AAG Correspond with client regarding debtor possession obligations 0.30 150.00
NG _ File Motion to approve retainer and employment (.3); Motion to shorten time
(.2); and to appear by phone (.2); File Motion for interim compensation
procedures (.3) 1.00 125.00
AAG Correspond with counsel for secured creditor regarding cash collateral 0.10 50.00
10/08/2024 NG _ File Motion to reconsider order shortening notice period for Application to
employ and retainer 0.30 37.50
AAG Correspond with client regarding Motion to convert, debtor in possession
obligations and correcting case issues 0.60 300.00
AAG Correspond with client and counsel for cash regarding use of cash collateral 0.60 300.00
LSR_ Call with A. Garber to discuss case. 0.20 65.00
LSR_ Call to client to discuss case. 0.10 32.50
LSR_ Begin to review docket and motion to convert and identify issues with MORs
and correspond with client regarding same. 0.80 260.00
10/09/2024 AAG Correspond with client and counsel for cash regarding cash collateral and
other case issues (.6); Revise cash collateral Order (.4); Review of
comments to Order from chase (.1); Revise Order accordingly (.1); Draft
Notice of filing of order and budget (.4); Vorrespond with counsel for
judgment creditor regarding same and case (.3) 1.90 950.00
NG _ File Notice of agreed to cash collateral order 0.30 37.50
LSR_ Call to client to discuss MORs and update A. Garber. 0.40 130.00
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Statement Date:
Statement No.

Michael O'Hare

10/10/2024

10/11/2024

10/14/2024

10/16/2024

10/17/2024

10/20/2024

10/21/2024

10/22/2024

10/23/2024

10/24/2024

10/28/2024

10/31/2024

10/07/2024
10/07/2024
10/14/2024

LSR

LSR
LSR

LSR

AAG
LSR

LSR

AAG
AAG

Work on MORs.

Correspondence with client, M. Dennis, and A. Garber regarding MORs.
Correspond with A. Garber regarding MORs, W&E List, and Objection to
Mtn to Convert.

Call with client to discuss MORs.

Correspond with client regarding monthly operating reports

Continue to work on monthly operating reports and correspond with client
regarding same.

Legal research related to applicability of Section 1112(b) in subchapter v

Correspond with secured creditor regarding bank account balance
Correspond with client regarding case issues and strategy

Prepare and file certificate of noncontested matter retainer and retention
Motion

Review of objections to use of cash collateral (.3); Correspond with secured
creditor and Ringba regarding same (.2)

Correspond with client regarding case issues and strategy

Modify cash collateral Order per objection of US Trustee and secured
creditor (.4); Correspond with US Trustee and secured creditor regarding
same (.2)

Revise cash collateral order (.2); Correspond with counsel for Chase, US
Trustee, Ringba, and client regarding same (.1)

Filed Status Report

Correspond with accountant re case issues and reports

Revise cash collateral Order per comments of Ringba (.1); Correspond with
client, counsel for Ringba, US Trustee, and Chase regarding same (.2)

Correspond with counsel for Chase and Rigba regarding resolution of cash
collateral (.2); Draft Notice of filing of stipulated order (.4)

Correspond with client regarding monthly operating reports

Filed Motion for Entry of Agreed to Final Cash Collateral Order and Order

Filed September monthly operating report
Correspond with client and bank regarding cash collateral

Correspond with client regarding request to participate in pod cast

Correspond with Trustee regarding status of settlement

Expenses

Copies
Postage
Copies

11/15/2024

107193
0.40 130.00
0.20 65,00
0.30 97.50
0.50 162.50
0.10 50.00
0.30 97.50
0.20 65.00
0.10 50.00
0.30 150.00
0.40 50.00
0.50 250.00
0.50 250.00
0.60 300.00
0.30 150.00
0.30 37.50
0.20 100.00
0.30 150.00
0.60 300.00
0.10 50.00
0.30 37.50
0.30 37.50
0.20 100.00
0.10 50.00
0.10 50.00
20.50 8,567.50
5.20
17.94
26.20

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Michael O'Hare

10/15/2024 Copies
Total Expenses

Total Fees and Expenses Billed This Month

Balance Due

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Statement Date:
Statement No.

11/15/2024
107193

13.90

63.24

8,630.74

$8,630.74

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